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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




PIERRE FATTOUCH

MOUSSA FATTOUCH

UNITED LEBANESE QUARRIES AND
CRUSHERS COMPANY S.A.L.                                     Case No. __________

              Plaintiffs

                  v.

THE REPUBLIC OF LEBANON,
Its Ministries, Agencies, and Instrumentalities
c/o Ministry of Justice

HER EXCELLENCY MARIE-CLAUD NAJIM
Minister of Justice

             Defendant State.


                                         COMPLAINT

        MESSRS. PIERRE and MOUSSA FATTOUCH, and UNITED LEBANESE QUARRIES
AND CRUSHERS COMPANY S.A.L. (ULQACC S.A.L.), (Plaintiffs), represented by the law
firm Poblete Tamargo LLP, file this COMPLAINT against the Republic of Lebanon (the
Defendant State), and upon personal knowledge as to its own acts and information and belief, acts:

                                  NATURE OF THE CASE

   1.      Messrs. Pierre and Moussa Fattouch, and the United Lebanese Quarries & Crushers
Company SAL bring this complaint under the District of Columbia’s Uniform Foreign-Country
Money Judgments Recognition Act of 2011, D.C. Code §15-361, §15.636 and, §15.364, et. seq.,
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seeking recognition of four final, conclusive and enforceable foreign-country money judgments
issued in their favor by the Lebanon State Consultative Council.1

                                              PARTIES

      2.      Messrs. Pierre and Moussa Fattouch are Lebanese nationals and the United Lebanese
Quarries & Crushers Company SAL owned by Messrs. Fattouch, a joint stock company
incorporated under the laws of the Republic of Lebanon.

      3.      The Defendant State, the Republic of Lebanon is a sovereign republic with its capital
in Beirut, Lebanon, and actual presence in the United States, among others, at 2560 28th Street
Northwest, Washington, D.C. 20008.

                                  JURISDICTION AND VENUE

      4.      Jurisdiction is proper under 28 U.S.C. § 1331.

      5.      Jurisdiction is also proper under 28 U.S.C. 1391(f)(4), et. seq., as a claim against the
Defendant State.

      6.      This Court has subject matter jurisdiction under the Foreign Sovereign Immunities Act
(“FSIA”), specifically, 28 U.S.C. §§ 1605(a)(1), 1605 (a)(2) and/or 1605(a)(3). Pursuant to the
FSIA, if the court has subject matter jurisdiction, it also has personal jurisdiction over the
defendant foreign sovereign and its constituent ministries.

      7.      Venue is proper in this federal district court under 28 U.S.C. § 1391(f)(4).

                                          BACKGROUND

      8.      As detailed in the State Consultative Council decisions and records, part of which is
appended in the Exhibits, the record shows Messrs. Pierre and Moussa Fattouch owned a quarry
in Ain Dara, Mount Lebanon and United Lebanese Quarries & Crushers Company SAL owned a
quarry in Hadath Baalback, Bekaa, Lebanon. Since at least 1994, and under permits issued by the


1
    The State Consultative Council operates as an appellate of Cassation level court.


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Defendant State, Plaintiffs had invested considerable effort, money, time, and emotional capital in
developing the quarry sites and, after a protracted dispute against the Defendant State, litigating
the claims.

     9.        On or about July 28, 1999, Defendant State interfered with the Plaintiffs’ business,
cancelled their valid Licenses, and later in time, ultimately ordered the closure of many quarries
in Lebanon, including the Plaintiffs’ quarries. Plaintiffs, thereafter, sued before the State
Consultative Council.

     10.       Because of the litigation, and in virtue of the rulings No. 395/2001, 347/2003,
236/2001, 416/2003, the State Consultative Council ordered the cancellation of the Defendant
State’s decision No 31/99 that cancelled the Plaintiffs’ licenses and thus the State Consultative
Council authorized the Plaintiffs to re-start the quarries. Based on these State Consultative Council
decisions, the Plaintiffs attempted to operate the quarries, however, the Defendant State, violating
the State Consultative Council’s rulings, interfered, once again, with quarry operations, prevented
the Plaintiffs from resuming their business, and ultimately, under the Council of Minister’s
Decision No 31/2003, ordered the Internal Security Forces2 of Lebanon to physically destroy the
Plaintiffs’ quarry equipment.

     11.       The Plaintiffs sued for compensation which resulted in the four final, conclusive and
enforceable judgments issued by the State Consultative Council, two 2005 judgments and two
2017 judgments. These four final, conclusive and enforceable judgments are subject of this
Complaint. See Exhibits A, B, C and D.

     12.       State Consultative Council Judgment No. 11/2005 (Oct. 5, 2005) orders the Defendant
State to pay Messrs. Pierre and Moussa Fattouch compensation for damages in the amount of USD
$84,814,188, and to pay annual interest of 9% until the judgment was paid; and (2) State


 2
           The Interior Security Forces of Lebanon are the national police and security forces of the
           Defendant State. According to U.S. government records available at
           www.foreignassistance.gov, and other public sources, the Interior Security Forces of
           Lebanon is a recipient of U.S. taxpayer funded foreign assistance program funds.
           Additional      sources     of    U.S.    government      funds      also     listed    at
           https://explorer.usaid.gov/cd/LBN.


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Consultative Council Judgment No. 15/2005 (Oct. 6, 2005), orders the Defendant State to pay
United Lebanese Quarries & Crushers Company SAL compensation for damages and losses in the
amount of USD $134,144,939, and to pay annual interest of 9% until the judgment was paid. The
current sum of these two final, conclusive and enforceable judgments, plus interest is
approximately $556,449,859. See Exhibits A and B.

   13.      In the spirit of cooperation, the Plaintiffs sought to settle. Rather than settle with the
Plaintiffs and pay them what they are lawfully owed, the Defendant State, for reasons unknown to
the Plaintiffs, had repeatedly blocked compensation; repeatedly ignored or defied the rulings of
the State Consultative Council; or otherwise engaged in a variety of schemes to derail settlement
negotiations. Undeterred, and after protracted negotiations with the Defendant State, the Plaintiffs
had to sue in 2017 before the State Consultative Council due to the Defendant State’s failure to
enforce the 2005 judgements.

   14.      The State Consultative Council, once again, ruled for the Plaintiffs and issued two
additional judgments: Judgment No. 470/2017 (April 10, 2017) for Messrs. Pierre and Moussa
Fattouch, and Judgment No. 471/2017 (April 10, 2017) for United Lebanese Quarries & Crushers
Company SAL. See Exhibits C and D.

   15.      The 2017 State Consultative Council judgments reaffirmed Judgments 11/2005 and
15/2005 and added that the matter was res judicata. The 2005 judgments were final, conclusive
and enforceable. The Defendant State was also ordered to pay 1% in additional damages until the
judgments were paid.

   16.      The final, conclusive and enforceable judgments that are the subject of this Complaint
include:

               a. Judgment No. 11/2005 (Oct. 5, 2005);

               b. Judgment No. 15/2005 (Oct. 6, 2005);

               c. Judgment No. 470 (April 10, 2017);

               d. Judgment No. 471 (April 10, 2017).



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   17.     The Defendant State owes the Plaintiffs approximately $556,449,859 (U.S. Dollars).

   18.     The time for any appeals of the Judgments has expired and remedies exhausted.

   19.     The Judgments have not been satisfied.

                                           COUNT 1

              Action Seeking Recognition of Foreign-Country Money Judgment

   20.     Plaintiffs incorporate by reference the matters alleged in Paragraphs 1 through 19.

   21.     A judgment issued by the court of a foreign nation may be recognized under the
District of Columbia’s Uniform Foreign-Country Money Judgments Recognition Act of 2011, D.C.
Code §§ 15-361, et. seq.

   22.     The Judgments satisfy the requisites for recognition under the District of Columbia’s
Uniform Foreign-Country Money Judgments Recognition Act of 2011, D.C. Code §§ 15-361, et.
seq.

   23.     A duly certified copy of the 2005 and 2017 final, conclusive and enforceable
judgments are attached as Exhibits A, B, C and D.

                                  PRAYERS FOR RELIEF

   WHEREFORE the Plaintiffs, respectfully request entry of an order and judgment:

           a. Confirming, recognizing, and enforcing the final judgments and the award
              $556,449,859 (U.S. Dollars) against the Defendant State.

           b. Awarding post-judgment interests and costs to be taxed on the amounts awarded
              until payment in full in U.S. Dollars.

           c. Ordering that the Defendant State pay the claims in U.S. Dollars to the Plaintiffs’
              bank account in the United States.

           d. Issuing of a Writ of Execution against any of the Defendant’s assets and ordering


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             the seizure of Lebanese state’s assets.

          e. Awarding Plaintiffs’ fees and costs in pursuing this action, and such other and
             further relief this Court deems just and proper equal to $20,000,000 (U.S. Dollars)
             with such other and further relief this Court deems just, proper, and equitable.

Date: September 15, 2020
                                                _________________/s/____________________
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